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                                                     February 4, 2022
Ms. Ann Mason Rigby
Ms. Elizabeth A. Mullin
Assistant Federal Public Defenders
Federal Public Defender’s Office for the Eastern District of Virginia
1650 King Street, Suite 500
Alexandria, VA 22314


Dear Ms. Rigby and Ms. Mullin,
       As you know, the Federal Public Defenders’ Office for the District of Columbia
commissioned Select Litigation, LLC, of Washington, D.C., to assess the federal jury
pool in the District of Columbia on behalf of the many indigent clients indicted for
activities arising out of the January 6, 2021, demonstrations at the U.S. Capitol
building who are represented by either Assistant Federal Public Defenders or other
counsel appointed pursuant to the Criminal Justice Act. To that end, Select Litigation
conducted two public opinion polls, one among jury-eligible citizens of the District of
Columbia, and one among jury-eligible citizens of the Atlanta Division of the
Northern District in Georgia. Select Litigation also retained the services of a leading
media research firm, News Exposure, to analyze news coverage related to the
January 6, 2021, demonstrations. For ease of reference, I have numbered the
paragraphs of this letter reporting on our results and the results of News Exposure’s
media study.
                                Jury Pool Analysis
        1.    The samples for the polls were drawn from current lists including both
landlines and cellular devices, and the sampling was done in a manner to ensure that
every jury-eligible citizen on the lists from each of the two jurisdictions would have
an equal probability of being included in the final sample. Interviewing for the polls
was conducted by professional interviewers by telephone January 9-14, 2022.
Respondents were interviewed on both landlines and mobile devices. The total
sample size was 800 respondents comprised of 400 interviews in each jurisdiction.
The wording and ordering of the substantive questions were identical in both
jurisdiction, and copies of the questionnaires are included as an addendum to this
letter.
       2.    All polls are subject to errors related to interviewing a sample of a
universe rather than the entire population. The margin of estimation or sample error
for a sample size of 400 is 4.9 percentage points at the 95% confidence interval. This
means that in 95 out of 100 cases, the responses in these polls should be within plus
or minus 4.9 percentage points of the responses that would have been obtained
interviewing the entire population in each jurisdiction. The sampling error for
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subgroups contained in these samples would be larger. Small adjustments were
made to the interviews collected to ensure that the samples are reflective of the best
available information about the composition of the populations in these jurisdictions.
In this and other respects, the methods used in conducting these polls were according
to or exceed professional standards for public opinion research.
       3.     In preparation for this research, Select Litigation reviewed numerous
polls conducted about the events of January 6. In these polls, Select Litigation
included one question taken from a national poll conducted by CBS News/YouGov
was included so we could compare results from these two jurisdictions with results
for adults nationwide. The CBS News/YouGov poll was conducted December 27-31,
2021, with 2,063 adults. The margin of sampling or estimation error with this size is
2.3 percentage points, plus or minus. The results of the poll are reviewed at
https://www.cbsnews.com/news/january-6-opinion-poll-2022/, and a descriptions of
its methodology can be found at the bottom of the document located at this link:
https://drive.google.com/file/d/1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view.
       4.     I was the project manager for this research by Select Litigation. Over
the past four decades, I have conducted over 3000 public opinion polls. I am a political
scientist by training, having earned a degree with departmental honors at Guilford
College, an M.A. from the University of Nebraska, completed doctoral course work
and comprehensive exams at Tulane University, and did advanced study in opinion
research and statistics at the University of Michigan.
                       Key Findings of Jury Pool Analysis
       5.     Prospective jurors in the District of Columbia have decidedly negative
impressions of individuals arrested in conjunction with the activities of January 6,
2021. Their bias against the defendants is evident in numerous results and is
reflected in a significant prejudgment of the case: a clear majority admit they would
be inclined to vote “guilty” if they were serving on a jury at the defendants’ trial. The
attitudes of prospective jurors in the District of Columbia are decidedly more hostile
toward the defendants than adults nationwide or prospective jurors in a
demographically comparable federal court division.
       6.     The first part of this document describes the findings from the poll of
jury-eligible citizens of the District of Columbia. The next section compares the views
of the District of Columbia jury pool with the jury-eligible citizens in the Atlanta
Division of the Northern District of Georgia. A final section reviews the findings of a
study of the media coverage of the events of January 6.
                       The District of Columbia Jury Pool
      7.    Essentially every jury-eligible individual in the District of Columbia
(99%) is aware of the demonstrations that took place at the Capitol on January 6,
2021. Awareness that “several hundred people were arrested on charges related to
those demonstrations” is almost as high (93% aware). See Appendix A, Q1, Q3.



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      8.     Most jury-eligible District of Columbia citizens (80%) express confidence
that the current defendants will receive a “fair trial” in the District of Columbia.
Fewer than this (67%) believe that they themselves would receive a fair trial if they
were defendants in the case. Other responses undermine the notion that these
expressions of confidence in a fair trial are an accurate reflection of what would occur.
See Appendix A, Q7, Q6.
      9.      The vast majority (84%) have an unfavorable opinion of the “people
arrested for participating in the events at the Capitol on January 6.” Only 6% have a
favorable view of those arrested; another 4% volunteer that their opinion is mixed,
and 6% do not offer an opinion of those arrested. See Appendix A, Q2.
       10.    An overwhelming majority of the District of Columbia jury pool have a
prejudgment about the case. When asked whether they think the “people who were
arrested for activities related to those demonstrations are guilty or not guilty of the
charges brought against them,” 71% say “guilty” and 3% say “not guilty.” About one
of every six volunteer that “it depends,” while only 10% offer no opinion as to the guilt
of those arrested. See Appendix A, Q4.
       11.    This perception of guilt goes beyond a simple, loosely held opinion. For
example, from early in life, most every American is exposed to the monition that, if
they serve as jurors, they must treat defendants as “innocent until proven guilty.”
Despite this, a majority of jury-eligible residents of the District of Columbia (52%)
admit in this anonymous interview that if they were “on a jury for a defendant
charged with crimes for his or her activities on January 6 th,” they would be more
likely to vote the defendant “guilty.” Only 2% say they would be more likely to vote
“not guilty.” About a third of the jury pool volunteer that “it depends” on how they
would vote, and 13% offer no opinion. See Appendix A, Q5.
       12.     The prejudgment revealed in responses to these two questions are in
sharp contrast to the expressions of confidence for a “fair trial.” It is of particular
interest that 76% of those who stated that they believe the defendants will receive a
fair trial think the defendants are guilty, and 56% of them say they would vote
“guilty” if they were on a jury.
       13.   Almost all prospective jurors in District of Columbia remember being
exposed to media coverage of January 6th (over 90% have seen, read, or heard some).
Most of them say the media coverage implied that the defendants are guilty of “the
charges brought against them.” Only 4% say the coverage suggests they are not
guilty, and 17% say the media coverage had been mixed. See Appendix A, Q8, Q9.
      14.     These opinions of the defendants among prospective District of
Columbia jurors are buttressed by strong underlying beliefs about the defendants’
associations, beliefs, actions, and motivations. First, large majorities accept, and few
prospective jurors reject, negative descriptions of the defendants. Seven of every ten
(70%) would describe the defendants as “conspiracy theorists,” 62% would describe
them as “criminals,” 58% would describe them as “white supremacists,” and 54%
would describe them as “members of a violent right-wing organization.” No more

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than 30% say they would not use any one of these terms to describe the defendants.
See Appendix A, Q10.
       15.     Second, many potential jurors reveal preconceived notions about the
intent of at least those defendants who “forced their way into the U.S. Capitol,” to use
the terminology used in the CBS News/YouGov poll of December 27-30, 2021. More
than eight of every ten (85%) think “trying to overturn the election and keep Donald
Trump in power” would describe these defendants’ actions; only 9% believe that
would not be a valid description. Three-quarters (76%) believe that the term
“insurrection” would describe their actions on January 6, and 72% believe “trying to
overthrow the US government” would be an apt description. About two-thirds (69%)
think “a protest that went too far” describes their actions. On the other hand,
alternative positive descriptions are roundly rejected. Only 13% think that
“patriotism” and only 10% think that “defending freedom” would describe their
actions. See Appendix A, Q11.
       16.    Responses to this question raise additional questions about the extent
to which prejudgments about the defendants undermine widespread expression of
confidence that defendants will receive a “fair trial.” That is, overwhelming
majorities of those in the District of Columbia jury pool who say that they believe the
defendants will receive a fair trial also reveal existing judgments about the
motivations and intentions of the defendants. That is, 78% of them believe the term
“trying to overthrow the government to keep Donald Trump in power” would describe
them; and 82% believe the term “insurrection” is an apt description for their actions.
By contrast, only 10% believe “patriotism” would describe them, and only 6% think
“defending freedom” would.
      17.     Note that we used the same question wording as the national CBS
News/YouGov December 27-30, 2021, poll to facilitate comparisons between the two
juror pools we analyzed with adults nationwide. We used this question wording
despite the fact that the CBS News/YouGov question wording is leading and includes
language characterizing the defendants that the defendants do not accept as
accurate, i.e., “the people who forced their way into the U.S. Capitol.”
       18.   As the following table demonstrates, prospective jurors in the District of
Columbia are more likely than adults nationwide, by a statistically significant
margin, to believe that the January 6 defendants were trying to overturn the election
and keep Donald Trump in power, were involved in an “insurrection,” and were
“trying to overthrow the U.S. government.” And they are less likely to believe that
the defendants’ actions would be described as “patriotism” or “defending freedom.”


          Comparison of Beliefs among Adults Nationwide and Jury-eligible Citizens of DC
            Do you believe this term would or would not describe the actions of on January 6?*
                                                                       USA        DC      Difference
      Trying to overturn the election and keep          Would           63%       85%         +22
      Donald Trump in Power                             Would not       37         9          - 28

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      Insurrection                                    Would           55%      76%       +21
                                                      Would not       45       13        - 32

      Trying to overthrow the US government           Would           54%      72%       +18
                                                      Would not       46       20        - 26

      A protest that went too far                     Would           76%      69%        - 7
                                                      Would not       24       24         +0

      Patriotism                                      Would           26%      13%       - 13
                                                      Would not       74       81        + 7

      Defending freedom                               Would           28%     10%        - 18
                                                      Would not       72      86         +14

      * The wording of the CBS/YouGov poll question was as follows: “Thinking about the people
      who forced their way into the U.S. Capitol on January 6, 2021. Would you describe their
      actions as …?” The question on the telephone polls reported here was worded as follows:
      “Thinking about the people who forced their way into the U.S. Capitol on January 6, 2021,
      tell me whether you would or would not describe their actions in the following ways. Here’s
      the first description: [READ ITEM] Would you describe or would you not describe the actions
      of the people who forced their way into the U.S. Capitol on January 6, 2021, in that way?

      The fact that the CBS News/YouGov poll was administered on-line and the polls reported
      here were conducted via telephone accounts for the slight difference in wording. In
      addition, the fact that the CBS News/YouGov poll did not permit answers other than “yes”
      and “no” is the reason the responses to those questions all add to 100%. The telephone
      polls that we conducted included space for the interviewers to note when respondent
      answers were something other than the offered answers, in particular, “it depends,” or
      some indication of “mixed,” and a refusal or reluctance to venture any response (“don’t
      know”). As a result, the DC responses reported here do not add up to 100%.


                    Comparison of Jury-Eligible Citizens in
              the District of Columbia and in the Atlanta Division
      19.   The comparison of results for a comparable question asked nationwide
and in the District of Columbia illustrates that prospective jurors in the District of
Columbia differ from adults nationwide in their views of the defendants. We also
compared the opinions of prospective jurors in the District of Columbia about the
defendants with those of prospective jurors in another federal court division.
      20.  The selection of the additional district in which to poll was based on
numerous considerations and research into other divisions of the federal court
system. From study and prior experience, we know that most urban areas in the
United States have relatively similar distributions of gender, age, and other
demographic measures of their populations. One of the biggest differences among the

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divisions is the racial composition. In that regard, the division with the closest
approximation of the racial composition of the District of Columbia is the Atlanta
division of the Northern District of Georgia. The following table shows the racial
composition of twelve divisions.


            Comparison of the Racial Composition of Various Federal Court Divisions
                                                                White Black Hispanic
                           District of the District of Columbia 41%   39%      11%
              Atlanta Division of Northern District of Georgia 40%    38%      12%

             Northern Division of Middle District of Alabama       55%   37%   3%
            Norfolk Division of the Eastern District of Virginia   55%   29%   7%
                                  Eastern District of Louisiana    55%   29%   9%
                                          District of Delaware     62%   21%   9%
                             Middle District of North Carolina     62%   21%   9%
            Southern Division of Eastern District of Michigan      69%   18%   4%
           Eastern Division of the Eastern District of Missouri    73%   17%   3%
                              Eastern District of Pennsylvania     65%   16%   10%
           Eastern Division of the Northern District of Illinois   52%   16%   22%
                                Southern District of New York      43%   16%   30%


       21.   This is not to say that the Atlanta Division is the same as the District of
Columbia in every regard. Adults in the District of Columbia have higher levels of
formal education than in other divisions (64% of adults in the District of Columbia
have an associate degree or higher). The comparable number in the Atlanta Division
is 51%. While the level of formal education is lower in Atlanta, it is higher than any
other division examined other than the Southern District of New York which also has
51% with associate degrees or higher.
       22.    Another obvious contrast is the percentage of vote won by the candidates
in the 2020 Presidential election. Trump won about 5% (to Biden’s 92%) in the
District of Columbia, while the split in the counties of the Atlanta Division was 65%-
33% for Biden. In fact, no other federal court division had a Presidential vote as
lopsided as the District of Columbia in 2020; the closest one in the divisions examined
here was SDNY (Biden 72%-Trump 26%). But since formal education and political
leanings traditionally are not factors to consider in selecting venue, the decision was
to use the Atlanta Division because the similarity of the two districts on a variety of
demographic measures, including the race/ethnic composition of the two populations.
       23.   A poll with identical questions was conducted in the Atlanta Division
over the same days as the poll in the District of Columbia discussed above. With one
exception, prospective jurors in the District of Columbia have more negative views of
the defendants by a statistically significant margin on each of these questions as
these examples show.


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                   Comparison of opinions among prospective jurors in DC and Atlanta Division
                                                                                   DC        GA                    Difference
Q2. Opinion of the people                               Favorable                    6%      18%                       -12
arrested for participating in the                       Unfavorable                 84        54                       +30
events at the U.S. Capitol on              Volunteered (Mixed)                       4        16                       -12
January 6                                  Volunteered (Don’t know/refused)          6        12                        -6

Q4. Opinion of whether people                               Guilty                             71%        54%         +17
arrested for Jan 6 activities are                           Not guilty                          3         10           -7
guilty or not guilty of the                     Volunteered (Depends)                          16         19           -3
charges brought against them                    Volunteered (Don’t know/refused)               10         17           -7

Q5. How are you more likely to                              Guilty                              52%       45%         +7
vote if on a jury for a                                     Not guilty                           2         9          -7
defendant charged with crimes                   Volunteered (Depends)                           33        37          -4
for his or her activities on                    Volunteered (Don’t know/refused)                13         8          +5
January 6th


            24.    The difference in underlying opinions of prospective jurors in the
     District of Columbia is even more evident on questions about descriptions of the
     defendants than it is on the questions for which there is an obvious socially acceptable
     response. Jury-eligible citizens of the District of Columbia are more likely by a
     statistically significant margin than their counterparts in the Atlanta division to
     believe the terms “conspiracy theorists,” “criminals,” “white supremacists,” and
     “members of a violent right-wing organization” describe most of the January 6
     defendants.


                   Comparison of Beliefs about January 6 defendants in DC and Atlanta Division
                Q10. Would you or would you not describe most of the people who were arrested for their
                involvement in the events on January 6th at the U.S. Capitol building using this description?
                                                                                   DC        GA       Difference
            Conspiracy theorists                                 Would             70%       52%          +18
                                                                 Would not         15        32           - 17

            Criminals                                            Would             62%       48%         +14
                                                                 Would not         28        35          - 7

            White supremacists                                   Would             58%       40%         +18
                                                                 Would not         25        41          - 16

            Members of a violent right-wing                      Would             54%       39%         +15
            organization                                         Would not         29        41          - 12
            NOTE: The results do not add to 100% because some respondents answered in ways not
            included in the question, most frequently “it depends,” “mixed,” or offered no opinion.


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      25.     Prospective jurors in the District of Columbia also are more likely to
have formed the opinion that the defendants had specific intent on January 6 than
their counterparts in Georgia with one exception. The similarity between the
opinions of the Georgia respondents and adults nationwide is additional evidence that
the District of Columbia is an outlier in these matters.


  Comparison of Beliefs among Jury-eligible Citizens in DC & Atlanta Division, & Adults Nationwide
                 Q11. Do you believe this term would or would not describe actions on January 6?*
                                                                                  USA        DC     GA
  Trying to overturn the election and keep Donald                Would             63%       84%    68%
  Trump in Power                                                 Would not         37         9     19

  Insurrection                                                   Would             55%        76%   55%
                                                                 Would not         45         13    27

  Trying to overthrow the US government                          Would             54%        72%   57%
                                                                 Would not         46         20    33

  A protest that went too far                                    Would             76%        69%   70%
                                                                 Would not         24         24    21

  Patriotism                                                     Would             26%        13%   25%
                                                                 Would not         74         81    63

  Defending freedom                                              Would             28%       10%    21%
                                                                 Would not         72        86     70
  See the note on the comparable table above for the wording of the questions and pertinent
  information about the responses on the nationwide poll and the telephone polls reported here.


       26.   In sum, these polls demonstrate that jury-eligible citizens in the District
of Columbia are decidedly more biased against the January 6 defendants than either
their counterparts in the Atlanta Division of the Northern District of Georgia or
adults nationwide. This bias and their clear prejudgment about the case raise
significant questions about the viability of obtaining a fair trial in the District of
Columbia.
                     Comparison of Media Coverage in Two Markets
       27.    Data generated by a leading media research firm, News Exposure show
that stories about and mentions of the January 6 incident were more common by
District of Columbia media outlets than by comparable outlets in Atlanta in print,
broadcast, and internet. See Appendix B. News Exposure’s findings and conclusions
are summarized below. Their report can be found in Appendix B and at this link:
https://docs.google.com/spreadsheets/d/1-
gGzNFhGmQPZAiRkoZjzTO8uqiq9Zve2I4L15mddpqU/edit?usp=sharing

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       28.   Print stories. During the first year after the events of January 6, 2021,
the dominant newspaper in the District of Columbia (the Washington Post) ran
roughly twice as many stories totally or mostly dedicated to the January 6 matter as
the dominant newspaper in Atlanta (the Atlanta Journal-Constitution). The
following table shows the distribution of stories on the demonstration and its
aftermath in each publication beginning January 6, 2021. With a few exceptions
(April, May, and October 2021), the Washington Post published more stories on the
matter than the Atlanta Journal-Constitution. During the most recent three months,
the Post published 57 stories to 9 in the Journal-Constitution.
                             Number of Stories in Two Newspapers
                                      Atlanta Journal-    Washington
                                        Constitution         Post
                          Jan 2021           15               28
                         Feb 2021             9               19
                         Mar 2021            11               10
                         Apr 2021             7                5
                         May 2021             3                3
                         Jun 2021             9               30
                           Jul 2021          11               26
                         Aug 2021             8               10
                         Sep 2021             7               15
                         Oct 2021            10                7
                         Nov 2021             4               19
                         Dec 2021             2               18
                          Jan 2022            3               20
                             Totals          99              210



      29.     Web coverage. Disparity between media coverage in the two markets
was perhaps greatest on the internet. As this table shows, the number of hits from
internet sites based in the District of Columbia area was four times higher than the
comparable number of hits from sites based in the Atlanta area.
                              Number of Web Hits in Two Markets
                                          Atlanta        Washington
                          Jan 2021          286              8,428
                         Feb 2021          2,016             3,570
                         Mar 2021           771              2,170
                         Apr 2021           522              1,724
                         May 2021           747              2,450
                         Jun 2021           659              2,562
                           Jul 2021         549              2,428
                         Aug 2021           360              1,131
                         Sep 2021           486              1,441
                         Oct 2021           471              1,805
                         Nov 2021           349              1,814
                         Dec 2021           389              1,873
                          Jan 2022          507              1,951
                             Totals        8,112            33,347

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       30.    Other common ways of reporting internet broadcasting (e.g.
impressions, ad value) show even larger disparities between the District of Columbia
and Atlanta.     Those are not reported here because controversies over the
methodologies could distract from the simple and incontrovertible conclusion that
District of Columbia-based sites provided many more hits on the internet than their
counterparts in Atlanta.
        31.   Broadcast coverage. The findings are similar with respect to the
number of stories broadcast on the local programming of the network television
affiliates of ABC, CBS, Fox, and NBC in each market that included significant
mention of the events of January 6, 2021, and its aftermath. The comparison is shown
in the following table. It is worth mentioning that the larger number of mentions on
broadcast news compared to print is in part because of the multiple news broadcasts
that appear each day on each outlet.


                               Number of Hits on Local Broadcasts
                                           Atlanta         Washington
                          Jan 2021          1,090             1,250
                         Feb 2021             369              874
                         Mar 2021             394              616
                         Apr 2021             202              523
                         May 2021             305              549
                         Jun 2021             195              388
                           Jul 2021           234              561
                         Aug 2021              92              356
                         Sep 2021             226              533
                         Oct 2021             135              423
                         Nov 2021             173              473
                         Dec 2021             290              444
                          Jan 2022            300              310
                             Totals         4.005             7,300


       32.    In addition to the simple difference in the number of hits on the local
broadcasts of the network affiliates, the table shows the persistence of the coverage
in the District of Columbia market as compared to the Atlanta market. The fewest
number of hits on the news broadcast by the District of Columbia affiliates in 2021
was 356 in August of last year. The number of hits during the lowest month in the
District of Columbia exceeded the comparable mentions in nine of the twelve months
on comparable broadcasts in Atlanta.
       33.   This disparity of media exposure might help explain the differences in
the views of jury-eligible citizens in the District of Columbia and the views of their
counterparts in a comparable division and among adults nationwide.




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Sincerely yours,
s/
Harrison Hickman
Select Litigation, LLC
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Washington, DC 20015




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Copyright 2022                                                            January 9 - 13, 2022                                                                         400/400 Interviews
District of Columbia and Atlanta Division of Northern District of Georgia     SL 3582-3                                                                         Margin of Error: +/- 4.9/4.9
 Hello, my name is __________ from [PHONEBANK], a national research firm.
 [IF LANDLINE] We're conducting a survey in (Washington, D.C./Georgia) to get people's opinions on important local issues. This number
 was selected at random and according to the research procedure, I would like to speak to the youngest (ALTERNATE: MAN/WOMAN) at this
 address who is registered to vote.
 [IF CELL PHONE] We're conducting a survey of cell phone users in (Washington, D.C./Georgia) to get people's opinions on important local
 issues. Since you are on a cell phone, I can call you back if you are driving or doing anything else that requires your full attention. Can
 you talk safely and privately now? [IF YES, CONTINUE. IF NO, SCHEDULE CALLBACK]
                                                                                                                                                                            D.C.      Atlanta
                                                                                                   Number ..........................................................        400        400
 RESUME ASKING ALL RESPONDENTS                                                                     Margin of error ...............................................         +/- 4.9    +/- 4.9

 QA. To ensure we have a proper sample, would you please tell me the name of the county you live in? [CODED]

 QB. Are you officially registered to vote in (Washington, D.C./Georgia)?                                                                                                   D.C.      Atlanta
                                                                                                 Yes ..................................................................      99%        94%
                                                                                                 No ....................................................................      1           6
                                                                                          VOL:   (Don’t know) ....................................................            -           -

 ASK QC IF NOT REGISTERED TO VOTE OR DON’T KNOW [QB=2,3]
 QC. Do you currently have a driver’s license with a (Washington,                                                                                                       D.C. Atlanta
 D.C./Georgia) address?                                                                          Yes ..................................................................   1%     6%
                                                                                                 No/Don't know ----------------------------------------------------► TERMINATE
                                                                                                 Registered to vote ...........................................          99    94

 RESUME ASKING ALL RESPONDENTS
 QD. [DC ONLY] And to make sure we interview people in all parts of the city, please tell me the ZIP code at the address where you live.
 [CODED]

 QE. In the last month, have you received a summons to appear for                                                                                                        D.C. Atlanta
 jury duty?                                                                                      No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QF. Are you a member of federal, state, or local law enforcement?                                                                                                       D.C. Atlanta
                                                                                                 No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QG. Are you an active-duty military member?                                                                                                                             D.C. Atlanta
                                                                                                 No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QH. Are you, or any of your immediate family members,                                                                                                                   D.C. Atlanta
 congressional staff?                                                                            No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QI. Are you, or any of your immediate family members, employed by                                                                                                       D.C. Atlanta
 the Department of Justice, or (D.C./state or local) or federal courts?                          No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE

 QJ. Are you, or any of your immediate family members or close                                                                                                           D.C. Atlanta
 personal friends CURRENTLY employed by or have any affiliation                                  No .................................................................... 100%  100%
                                                                                                 Yes/Don't know ---------------------------------------------------► TERMINATE
 with the media?
 Q1. Are you aware or not aware of the demonstrations that took place                                                                                                       D.C.      Atlanta
 at the Capitol on January 6, 2021?                                                              Aware ..............................................................        99%        93%
                                                                                                 Not aware ........................................................           1           7
                                                                                          VOL:   (Refused).........................................................           -           -
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Select Litigation                         SL 3582-3                                 District of Columbia and Atlanta Division of Northern District of Georgia                                                           Page 2/4



 Q2. Do you have an unfavorable or favorable opinion of the people                                                                                                                                               D.C.      Atlanta
 arrested for participating in the events at the U.S. Capitol on January                                                               Favorable ........................................................          6%        18%
                                                                                                                                       Unfavorable .....................................................          84         54
 6?                                                                                                                            VOL:    (Mixed) ............................................................        4         16
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                 6         12

 Q3. Are you aware or not aware that several hundred people were                                                                                                                                                 D.C.      Atlanta
 arrested on charges related to those demonstrations?                                                                                  Aware ..............................................................       93%        87%
                                                                                                                                       Not aware ........................................................          6         13
                                                                                                                               VOL:    (Refused).........................................................          1           *

 Q4. From what you have heard or read, do you think the people who                                                                                                                                               D.C.      Atlanta
 were arrested for activities related to those demonstrations are guilty                                                               Guilty ...............................................................     71%        54%
                                                                                                                                       Not guilty .........................................................        3         10
 or not guilty of the charges brought against them?                                                                            VOL:    (Depends)........................................................          16         19
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                10         17

 Q5. Assume you are on a jury for a defendant charged with crimes for                                                                                                                                            D.C.      Atlanta
 his or her activities on January 6th. Are you more likely to vote that                                                                Guilty ...............................................................     52%        45%
                                                                                                                                       Not guilty .........................................................        2           9
 the person is guilty or not guilty of those charges?                                                                          VOL:    (Depends)........................................................          33         37
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                13           8

 Q6. If you were a defendant charged with crimes for your activities on                                                                                                                                          D.C.
 January 6th, do you think you would or would not get a fair trial in the                                                              Would ..............................................................       67%
                                                                                                                                       Would not ........................................................         21
 District of Columbia?                                                                                                         VOL:    (Depends)........................................................           5
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                 7

 Q7. Do you think the defendants currently charged with crimes for                                                                                                                                               D.C.
 their activities on January 6th will or will not get a fair trial in the                                                              Will...................................................................    80%
                                                                                                                                       Will not.............................................................      10
 District of Columbia?                                                                                                         VOL:    (Depends)........................................................           4
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                 5

 Q8. Since the demonstrations took place on January 6th, how much                                                                                                                                                D.C.      Atlanta
 news coverage have you seen, heard, or read about the                                                                                 A lot .................................................................    33%        30%
                                                                                                                                       Quite a bit ........................................................       28         20
 demonstrations at the Capitol, the investigations, arrests, and court                                                                 Some ...............................................................       25         25
 proceeding of individuals involved in those demonstrations – a lot,                                                                   Not much .........................................................          9         18
 quite a bit, some, not much, or none at all?                                                                                          None at all .......................................................         4           7
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                 *           *

 Q9. Has most of the media coverage you have seen, heard, or read                                                                                                                                                D.C.      Atlanta
 suggested the defendants are likely guilty or are likely not guilty of                                                                Likely guilty ......................................................       63%        61%
                                                                                                                                       Likely not guilty ................................................          4         10
 the charges brought against them?                                                                                             VOL:    (Depends)........................................................          17         14
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                16         16

 Q10. I am going to read some descriptions of people. For each of these, tell me if you would or would not describe most of the people
 who were arrested for their involvement in the events on January 6th at the U.S. Capitol building using each description. Here’s the first
 one: [READ ITEM] Would you describe, or would you not describe most of the people who were arrested for their actions on January 6th as
 [ITEM]?
 SCRAMBLE                                                                                                                                                Would          Would not (Not sure/Don’t know) (Refused)
                                                                                                                              Washington, D.C.            70%              15               13               2
 • Conspiracy theorists ........................................................................................                       Atlanta            52%              32               14               2
                                                                                                                              Washington, D.C.             62%                 28                            7                2
 • Criminals ..............................................................................................................            Atlanta             48%                 35                           16                1
                                                                                                                              Washington, D.C.             58%                 25                           14                3
 • White supremacists ..........................................................................................                       Atlanta             40%                 41                           17                1
                                                                                                                              Washington, D.C.             54%                 29                           15                2
 • Members of a violent right-wing organization ..........................................                                             Atlanta             39%                 41                           18                2
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 Q11. Thinking about the people who forced their way into the U.S. Capitol on January 6, 2021, tell me whether you would or would not
 describe their actions in the following ways. Here’s the first description: [READ ITEM] Would you describe, or would you not describe the
 actions of the people who forced their way into the U.S. Capital on January 6, 2021, in that way?
 SCRAMBLE                                                                                                                                                Would          Would not (Not sure/Don’t know) (Refused)
                                                                                                                              Washington, D.C.            85%               9                4               2
 • Trying to overturn the election and keep Donald Trump in power ...                                                                  Atlanta            68%              19               11               2
                                                                                                                              Washington, D.C.            76%                 13                            9                    2
 • Insurrection .........................................................................................................              Atlanta            55%                 27                           15                    3
                                                                                                                              Washington, D.C.            72%                 20                                6                2
 • Trying to overthrow the U.S government ..................................................                                           Atlanta            57%                 33                                9                1
                                                                                                                              Washington, D.C.            69%                 24                                5                2
 • A protest that went too far ..............................................................................                          Atlanta            70%                 21                                7                2
                                                                                                                              Washington, D.C.            13%                 81                            5                    1
 • Patriotism .............................................................................................................            Atlanta            25%                 63                           12                    1
                                                                                                                              Washington, D.C.            10%                 86                                3                2
 • Defending freedom ...........................................................................................                       Atlanta            21%                 70                                8                1

 Now let’s go to some final questions with a reminder that this survey is completely confidential.
 D100. Gender.                                                                                                                                                                                                      D.C.      Atlanta
                                                                                                                                       Male.................................................................         46%        48%
                                                                                                                                       Female ............................................................           54         52

 D101. What is your age?                                                                                                                                                                                            D.C.      Atlanta
                                                                                                                                       18-24 ...............................................................          2%          8%
                                                                                                                                       25-29 ...............................................................          8           8
                                                                                                                                       30-34 ...............................................................         13         16
                                                                                                                                       35-39 ...............................................................         20           8
                                                                                                                                       40-44 ...............................................................         12         11
                                                                                                                                       45-49 ...............................................................          7         12
                                                                                                                                       50-54 ...............................................................          7           7
                                                                                                                                       55-59 ...............................................................          7           8
                                                                                                                                       60-64 ...............................................................          2           6
                                                                                                                                       65+ ..................................................................        20         14
                                                                                                                               VOL:    (Refused).........................................................             3           1

 D102. What is the last grade you completed in school?                                                                                                                                                              D.C.      Atlanta
                                                                                                                                       Some grade school (1-8).................................                       *           1%
                                                                                                                                       Some high school (9-11) .................................                      5           3
                                                                                                                                       Graduated high school ....................................                     8         14
                                                                                                                                       Technical/Vocational .......................................                   2           6
                                                                                                                                       Some college ..................................................               13         18
                                                                                                                                       Graduated college ...........................................                 31         35
                                                                                                                                       Graduate/Professional ....................................                    38         21
                                                                                                                               VOL:    (Don’t know/Refused) ......................................                    4           2

 Q12. And when it comes to politics, do you generally think of yourself                                                                                                                                             D.C.      Atlanta
 as a Democrat, an Independent, or a Republican?                                                                                       Democrat .........................................................            59%        36%
                                                                                                                                       Independent ....................................................              29         29
                                                                                                                                       Republican ......................................................              4         20
                                                                                                                               VOL:    (Other) .............................................................          3           4
                                                                                                                               VOL:    (Don't know) ....................................................              5           5

 ASK ONLY IF REGISTERED TO VOTE IN QB [QB=1]
 Q13. Regardless of how you feel about the parties, how are you                                                                                                                                                     D.C.
 registered to vote: as a Democrat, an Independent, or a Republican?                                                                   Democrat .........................................................            69%
                                                                                                                                       Independent ....................................................              18
                                                                                                                                       Republican ......................................................              4
                                                                                                                               VOL:    (Other) .............................................................          2
                                                                                                                               VOL:    (Don't know) ....................................................              6
                                                                                                                                       NOT REGISTERED ........................................                        1
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 RESUME ASKING ALL RESPONDENTS
 D300. And just to make sure we have a representative sample of                                                                                                 D.C.      Atlanta
 voters, could you please tell me your race? [IF NECESSARY] Well,                     Black................................................................      44%        41%
                                                                                      White ...............................................................      43         41
 most people consider themselves black or white?                             VOL:     (Other) .............................................................       8         14
                                                                             VOL:     (Don’t know/Refused) ......................................                 4           4

 D301. Do you consider yourself a Hispanic, Latino, or Spanish-                                                                                                 D.C.      Atlanta
 speaking American?                                                                   Yes ..................................................................      6%        11%
                                                                                      No ....................................................................    91         86
                                                                             VOL:     (Don’t know/Refused) ......................................                 3           3

 Thank you for taking the time to complete this interview.
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   Appendix B
Report Provided By
  News Exposure

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B-2.       Broadcast Data – Coverage Over Time
B-3.       Broadcast Data – Charts & Graphs (Impressions/Publicity Value)
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B-5.       Web Data – Coverage Over Time
B-6.       Web Data – Charts & Graphs (Impressions/Publicity Value)
B-7.       Print Data Table
B-8.       Print Data – Coverage Over Time
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                                           B-1: Broadcast Data Table
January 6th Project - Broadcast


Stories/Hits    January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta            1,090        369        394        202        305        195        234         92         226       135         173       290          300         4,005

D.C.               1,250        874        616        523        549        388        561        356         533       423         473       444          310         7,300



Impressions January        February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta        53,433,525 19,245,682 17,361,862 9,849,990 13,709,287 9,424,368 10,810,099 3,325,521 10,413,013 4,525,155 6,224,636 11,516,021        11,352,754 181,191,913

D.C.           49,674,375 33,296,693 23,175,453 18,762,475 22,269,773 14,788,074 20,188,274 13,978,000 18,628,333 17,761,234 20,246,625 17,847,052   14,579,659 285,196,020



AD Value        January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta         2,912,232 1,140,827 1,258,297     613,390    865,057    413,673    573,568    260,514     603,059    351,116     450,772 1,055,785    1,180,513 11,678,804

D.C.            3,839,977 1,859,177 1,402,766 1,299,934 1,469,772 1,203,665 1,365,284         760,834    1,082,430   985,874 1,421,944 1,567,187      1,245,426 19,504,270



PUB VALUE       January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta         8,736,695 3,422,481 3,774,892 1,840,171 2,595,172 1,241,018 1,720,703         781,542    1,809,178 1,053,349 1,352,315 3,167,356      3,541,540 35,036,412

D.C.           11,519,931 5,577,530 4,208,298 3,899,803 4,409,315 3,610,996 4,095,852 2,282,503          3,247,290 2,957,622 4,265,832 4,701,561      3,736,277 54,776,533
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                                                    B-4: Web Data Table
January 6th Project - Web

Stories/Hits    January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta            1,090        369        394        202        305        195        234         92         226       135         173       290          300         4,005

D.C.               1,250        874        616        523        549        388        561        356         533       423         473       444          310         7,300



Impressions January        February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta        53,433,525 19,245,682 17,361,862 9,849,990 13,709,287 9,424,368 10,810,099 3,325,521 10,413,013 4,525,155 6,224,636 11,516,021        11,352,754 181,191,913

D.C.           49,674,375 33,296,693 23,175,453 18,762,475 22,269,773 14,788,074 20,188,274 13,978,000 18,628,333 17,761,234 20,246,625 17,847,052   14,579,659 285,196,020



AD Value        January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta         2,912,232 1,140,827 1,258,297     613,390    865,057    413,673    573,568    260,514     603,059    351,116     450,772 1,055,785    1,180,513 11,678,804

D.C.            3,839,977 1,859,177 1,402,766 1,299,934 1,469,772 1,203,665 1,365,284         760,834    1,082,430   985,874 1,421,944 1,567,187      1,245,426 19,504,270



PUB VALUE       January    February   March       April      May        June       July      August     September October      November December January 2022 Totals

Atlanta         8,736,695 3,422,481 3,774,892 1,840,171 2,595,172 1,241,018 1,720,703         781,542    1,809,178 1,053,349 1,352,315 3,167,356      3,541,540 35,036,412

D.C.           11,519,931 5,577,530 4,208,298 3,899,803 4,409,315 3,610,996 4,095,852 2,282,503          3,247,290 2,957,622 4,265,832 4,701,561      3,736,277 54,776,533
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                                                        B-7: Print Data Table
January 6th Project - Print


Stories/Hits    January    February   March     April       May        June        July        August September October November December January 2022 Totals

Atlanta               65         35       41            9         10          18          24       20         29        26         10          9            7         303

D.C.                  87         30       24        10            6           57          63       21         33        13         60         47           86         537



Impressions January        February   March     April       May        June        July        August September October November December January 2022 Totals

Atlanta         7,476,150 4,186,644 1,943,799   897,138     598,092    598,092     299,046                                                           1,046,661 17,045,622

D.C.           15,600,600 6,500,250 5,400,300 3,500,000 2,600,000 13,500,000 15,600,000 6,700,150       7,900,500 4,250,000 14,900,500 11,750,100   14,600,500 122,802,900
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